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                      DISTRICT COURT OF THE VIRGIN ISLANDS
                              DIVISION OF ST. CROIX

UNITED STATES OF AMERICA                  )
                                          )
            v.                            )                  Criminal Action No. 2016-0009
                                          )
JEAN CARLOS VEGA-ARIZMENDI, et al.,       )
                                          )
                  Defendants.             )
__________________________________________)

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        For the United States

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        For Defendant Jean Carlos Vega-Arizmendi

                         MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on Defendant Jean Carlos Vega-Arizmendi’s

(“Defendant”) Motion in Limine to Exclude Testimony of Peter Kalme (“Motion”) (Dkt. No. 1179)

and the Government’s Opposition to Defendant’s Motion (“Opposition”) (Dkt. No. 1193). For the

reasons discussed below, the Court will deny Defendant’s Motion.


                                   I.      INTRODUCTION

       In his Motion, Defendant argues that testimony by Task Force Officer (“TFO”) Peter

Kalme regarding alleged statements made by Defendant during an interview should be excluded

at trial because (1) he has no personal knowledge of Defendant’s statements, and (2) the statements

cannot be reliably attributed to Defendant. (Dkt. No. 1179 at 2, 3).
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                                      II.     DISCUSSION

       A.      TFO Kalme’s Personal Knowledge

       With respect to Defendant’s first argument, Defendant states that—although TFO Kalme

participated in the interview of Defendant as an interpreter and his testimony relates to statements

allegedly made by Defendant during that interview—evidence from the first trial indicates that

TFO Kalme has no personal recollection of the interview with Defendant. Id. at 3. Defendant

asserts that TFO Kalme’s “testimony is based solely on a hearsay document”—specifically, a form

drafted by Drug Enforcement Administration (“DEA”) Special Agent (“SA”) Brian Gaumond

based on his notes from the interview with Defendant. Id. at 2, 3. Based on these assertions,

Defendant argues that there is insufficient evidence to support a finding that TFO Kalme has

personal knowledge of Defendant’s alleged statements, and as such his testimony does not meet

the requirements for admissibility established by Federal Rule of Evidence 602. Id. at 2.

       In its Opposition, the Government argues that, as a participant in the interview of

Defendant, TFO Kalme has personal knowledge of Defendant’s alleged statements during the

interview. (Dkt. No. 1193 at 2). The Government frames Defendant’s claim that TFO Kalme has

no personal recollection of the interview as a “bald[] assertion” made “[w]ithout citation to any

record.” Id. The Government further argues that, in any event, it would be more appropriate to

address the issue of TFO Kalme’s personal recollection during trial, at which point counsel for

Defendant will have the opportunity to voir dire TFO Kalme with respect to the issue of his

personal knowledge. Id.

       Although Defendant argues that evidence from the first trial establishes that TFO Kalme

has no recollection of the interview with Defendant, he did not attach any exhibits to his Motion

in support of this contention. Defendant did, however, attach excerpts from the transcript of an


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October 4, 2016 evidentiary hearing held in this matter during which TFO Kalme testified. (Dkt.

No. 1179-1). The Court notes that nothing about the excerpts of the testimony provided by

Defendant suggests that TFO Kalme has no personal recollection of the interview with Defendant.

At the evidentiary hearing, TFO Kalme was able to describe aspects of the interview and its

surrounding circumstances in detail—including the size of the interview room, the lighting

conditions and furniture in the room, the other participants in the interview, and specific actions

he took during the interview such as providing Defendant with Miranda warnings in Spanish. Id.

at 5:4-6:12). Thus, Defendant has presented no basis upon which to support a finding that TFO

Kalme’s testimony should be excluded due to lack of personal knowledge. Defendant’s request

that the Court exclude TFO Kalme’s testimony on this basis will, therefore, be denied. 1


        B.      Reliability of TFO Kalme’s Testimony

        In his second argument, Defendant states that TFO Kalme’s testimony should be excluded

upon consideration of the factors set forth in United States v. Nazemian, 948 F.2d 552 (9th Cir.

1991), and United States v. Martinez-Gaytan, 213 F.3d 890, 892 (5th Cir. 2000), because the

statements Defendant made through an interpreter cannot reliably be attributed to Defendant. (Dkt.

No. 1179 at 2, 3). 2 Specifically, Defendant argues that TFO Kalme’s testimony is unreliable

because SA Gaumond provided the interpreter; the interpreter was working on behalf of the DEA;

the interpreter had “no special qualification or skills in translation or interpretation;” and the report



1
  The Court’s ruling in this regard does not prevent Defendant from seeking to voir dire TFO
Kalme at trial regarding his personal knowledge of the interview, or from making objections at
trial that Defendant deems appropriate based on TFO Kalme’s testimony.
2
  The four factors identified in Nazemian are: (1) which party supplied the interpreter; (2) whether
the interpreter had any motive to mislead or distort; (3) the interpreter’s qualifications and
language skills; and (4) whether actions taken subsequent to the conversation were consistent with
the statements translated. Id.
                                                   3
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written by SA Gaumond after the interview “contains significant changes from his hand-written

notes, establishing that [Defendant’s] interrogation has been distorted.” Id. at 3.

        In its Opposition, the Government points out that TFO Kalme himself served as

Defendant’s interpreter during the interview, and that TFO Kalme will testify as the Government’s

witness. (Dkt. No. 1193 at 6). The Government argues that the four-factor test laid out in Nazemian

is not applicable here because—unlike Nazemian and other cases where an agent was testifying

about what an interpreter told the agent that the defendant said—TFO Kalme’s testimony does not

present the Confrontation Clause and hearsay issues that the Nazemian test was designed to

address. Id. 3




3
  The Government also contends that the Court should not entertain Defendant’s arguments
concerning the reliability of TFO Kalme’s testimony at all because Defendant objected to the
admission of TFO Kalme’s testimony on the same basis during the first trial, and the Court
overruled the objection. (Dkt. No. 1193 at 6). The Government argues that the “law of the case”
doctrine should operate to preclude Defendant from revisiting this issue as it was decided by the
Court during the first trial. Id.

The Court notes, however, that the majority of circuits that have addressed the issue have
determined that the “law of the case” doctrine does not apply with respect to evidentiary rulings
from a previous trial. See, e.g., United States v. Akers, 702 F.2d 1145, 1148 (D.C. Cir. 1983)
(holding that “[n]o doctrine of the law of the case operates” with respect to evidentiary rulings in
a new trial because “‘the previous trial [is] a nullity,’ [and] the court in the new trial tries ‘the case
as if it were being tried for the first time . . . .’”) (quoting Hobbs v. Akers, 191 A.2d 238, 239, cert.
denied, 375 U.S. 914, (1963)); United States v. Todd, 920 F.2d 399, 403 (6th Cir. 1990)
(“Rigorously applying the law-of-the-case doctrine [with respect to evidentiary rulings] would
undercut the broad discretion that traditionally has been accorded a trial court in these matters.”);
Menzer v. United States, 200 F.3d 1000, 1004 (7th Cir. 2000) (“The law of the case doctrine does
not bar a trial court from revisiting its own evidentiary rulings.”). As the Court stated at the status
conference held on February 13, 2018, the Court is not applying the law of the case doctrine to its
evidentiary rulings as a general proposition, and it is therefore incumbent on the parties to raise
whatever objections they deem appropriate and want preserved in the context of the second trial
of this matter. Accordingly, notwithstanding that Defendant challenged the admission of TFO
Kalme’s testimony in the first trial, the Court is considering and ruling on Defendant’s challenge
in the context of the second trial.
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        In Nazemian, the Ninth Circuit considered a claim by Nazemian that trial testimony by a

DEA agent about statements Nazemian made during an interview constituted “inadmissible

hearsay and violated the confrontation clause because [the DEA agent] was not able to understand

her statements directly, but only heard them as translated by an interpreter . . . .” Nazemian, 948

F.2d at 525. The Ninth Circuit identified as a threshold matter the issue of “whether the interpreter

or Nazemian should be viewed as the declarant. If the statements properly are viewed as

Nazemian’s own, then there would be no confrontation clause issue since Nazemian cannot claim

that she was denied the opportunity to confront herself.” Id. at 525-26 (footnote omitted). The

Court further noted that “[t]his threshold question likewise controls the hearsay analysis. If the

statements are viewed as Nazemian’s own, they would constitute admissions properly

characterized as non-hearsay” under Federal Rule of Evidence 801(d). Id. at 526. The Nazemian

Court then fashioned a four-part test to determine whether an interpreter can properly be viewed

as an agent or “language conduit” of a defendant such that the interpreter’s statements may be

attributed to the defendant—thereby eliminating hearsay and Confrontation Clause concerns in the

event that a third party testifies about the interpreter’s statements. Id. at 527.

        Unlike the circumstances addressed in Nazemian, the matter currently before the Court

involves the testimony of the interpreter (TFO Kalme) as to what Defendant said, not the testimony

of another law enforcement officer as to the interpreter’s communication to the officer of

Defendant’s statements. The Second Circuit has specifically distinguished between the type of

scenario presented in Nazemian and the one presented here:

        If [the law enforcement agent] had spoken with [the defendant] directly and could
        himself have testified to [the defendant’s] answers, his testimony as to [the
        defendant’s] statements would have been non-hearsay admissions under Fed. R.
        Evid. 801(d)(2)(A) (“A statement is not hearsay if. . . [t]he statement is offered
        against a party and is (A) his own statement . . .”). The specter of hearsay arises



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       because [the law enforcement agent] could testify only to what [the interpreter] said
       [the defendant] had said.

United States v. Da Silva, 725 F.2d 828, 830 (2d Cir. 1983).

       Because TFO Kalme (the interpreter) will be on the witness stand and can relate to the jury

what Defendant told him directly, the hearsay issue at which Nazemian and its four-part test are

directed is not present. Likewise, because TFO Kalme will testify and be subject to cross-

examination, there is no Sixth Amendment Confrontation issue present here. Defendant’s reliance

on Nazemian and its four-factor test is therefore misplaced.

       The Court concludes that Defendant’s arguments with respect to the reliability of TFO

Kalme’s testimony are more properly directed at the weight that the testimony should be given,

rather than the admissibility of the testimony. This conclusion finds support in persuasive

authority. In United States v. Mejia, 600 F.3d 12 (1st Cir. 2010), a detective at the scene of an

arrest advised Mejia of his Miranda rights in Spanish. Id. at 15. The detective and another officer

began to ask Mejia questions, which the detective translated. Id. at 16. The non-Spanish speaking

officer wrote a report two days later, and Mejia’s incriminating statements were introduced at trial.

Id. On appeal, Mejia argued that the district court improperly allowed the detective to testify as to

the content of his incriminating statements given that the detective lacked formal training in

English-Spanish translation. Id. at 19.

       The First Circuit found no abuse of discretion where the district court permitted the defense

to probe the detective’s translation ability, and the detective testified that he was a native Spanish

speaker, regularly spoke English and Spanish at home and work, and had served as a translator in

several law enforcement contexts. Id. The court also concluded that questions regarding the

accuracy of a translation are “more properly directed to the weight of the evidence, not its

admissibility.” Id. at 19-20 (citing United States v. Gonzalez-Ramirez, 561 F.3d 22, 29 (1st Cir.

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2009)); see also United States v. Fujii, 301 F.3d 535, 540-41 (7th Cir. 2002) (observing that it is

the “function of the finder-of-fact to weigh the evidence presented by the parties as to the accuracy

of the proffered translation and to determine the reliability of the translation on the basis of that

evidence”) (quoting United States v. Zambrana, 841 F.3d 1320, 1337 (7th Cir. 1988)).

       The Court recognizes that “[d]ue process might require a witness to have a threshold

capacity to understand Spanish before the witness is permitted to testify about a conversation in

that language.” United States v. Silva-Arzeta, 602 F.3d 1208, 1216 (10th Cir. 2010). Here, the

Government represents that TFO Kalme’s “native tongue” is Spanish and that “he had been

conversing in English for 22 years at the time of the interview” with Defendant. (Dkt. No. 1193 at

1). The Government’s representation in this regard is consistent with excerpts of the testimony

appended to Defendant’s Motion. (Dkt No. 1179-1 at 7:25-8:8). The Government also expects

Kalme to testify that “he routinely interprets from Spanish to English and English to Spanish” in

his role as a law enforcement officer. (Dkt. No. 1193 at 6). While Defendant maintains that TFO

Kalme has no special qualification or skills as an interpreter and suggests that his position with

law enforcement might bias his interpretations, the Court concludes that the current record

supports a finding that TFO Kalme has the threshold capacity to understand Spanish and English

necessary to permit his testimony regarding the interview with Defendant. See, e.g., Mejia, 600

F.3d at 19 (officer’s testimony regarding statements made by a defendant in Spanish was properly

admitted—despite the officer’s lack of official training in translation—where he was a native

Spanish speaker, spoke both English and Spanish at home, and had served as a translator in several

law enforcement contexts). Defendant will have the opportunity to challenge TFO Kalme’s

translation abilities and the accuracy of his interpretation, and to demonstrate any alleged bias,

through cross-examination at trial. See Silva-Arzeta, 602 F.3d at 1216 (noting that a defendant’s



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concerns that the officer “may have reported the conversation incorrectly because of his lack of

understanding of Spanish or his bias as a police officer . . . are the bread and butter of litigation”

and that “[a]lthough there may be inaccuracies in [the officer’s] testimony, cross-examination and

the presentation of contrary evidence . . . are what we rely on to assess the truth”).

        In sum, the Court finds that Defendant’s reliance on Nazemian is misplaced, and that the

evidence in the record is sufficient to support a finding that TFO Kalme possessed the threshold

language capacities necessary to permit his testimony regarding Defendant’s statements.

Defendant will have the opportunity to pursue his challenges through the avenue of cross-

examination at trial. Accordingly, Defendant’s request that the court exclude TFO Kalme’s

testimony on the basis that it is unreliable will be denied.

                                      III.    CONCLUSION

        For the reasons discussed above, the Court will deny Defendant’s Motion. Neither basis

asserted by Defendant in his Motion warrants the exclusion of TFO Kalme’s testimony during the

second trial of this matter.

                                              ORDER

        UPON CONSIDERATION of Defendant Jean Carlos Vega-Arizmendi’s Motion in

Limine to Exclude Testimony of Peter Kalme (Dkt. No. 1179), and for the reasons discussed

herein, it is hereby

        ORDERED that Defendant’s Motion is DENIED.

        SO ORDERED.

Date: March 6, 2018                                            _______/s/_______
                                                               WILMA A. LEWIS
                                                               Chief Judge




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